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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

       IMPLICIT, LLC,                             §
                                                  §
                 Plaintiff,                       §
            v.                                    §
                                                  §
                                                  §
       IMPERVA, INC.                                   Case No. 2:19-cv-00040-JRG-RSP
   .                                              §
                                                       LEAD CASE
                                                  §
                                                  §
       JUNIPER NETWORKS, INC.                          Case No. 2:19-cv-00037-JRG-RSP
                                                  §
                                                       CONSOLIDATED CASE
                                                  §
                                                  §
       FORTINET, INC.,                                 Case No. 2:19-cv-00039-JRG-RSP
                                                  §
                 Defendants.                      §    CONSOLIDATED CASE


                                               ORDER

            Before the Court is Defendant Imperva, Inc.’s Opposed Motion for Expedited Briefing and

   to Stay All Other Deadlines. Dkt. No. 231. The Court ORDERS that Plaintiff Implicit, LLC file

   any response to this Motion (Dkt. No. 231) by March 9, 2020.
           SIGNED this 3rd day of January, 2012.
            SIGNED this 25th day of February, 2020.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
